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                                #:52670


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 4
                        UNITED STATES DISTRICT COURT
 5
                      CENTRAL DISTRICT OF CALIFORNIA
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 7   IN RE: NATIONAL FOOTBALL               Case No. 2:15-ml-02668-PSG (SKx)
 8   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION                   [PROPOSED] ORDER GRANTING
 9                                          PLAINTIFFS’ MOTION FOR
     _______________________________
10                                          RECONSIDERATION REGARDING
                                            REBUTTAL CASE
11
     THIS DOCUMENT RELATES TO
12   ALL ACTIONS                           Judge: Hon. Philip S. Gutierrez
13                                         Courtroom: First Street Courthouse
14                                                    350 West 1st Street
                                                      Courtroom 6A
15                                                    Los Angeles, CA 90012
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 1         The Court, having received Plaintiffs’ Motion for Reconsideration Regarding
 2   Rebuttal Case, and finding good cause therefor, vacates its prior order precluding
 3   Plaintiffs from putting on a rebuttal case.
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 5                                                     IT IS SO ORDERED.
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 7   Dated: ___________________                        ______________________________
                                                       PHILIP S. GUTIERREZ
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                                                       United States District Judge
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